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UN|TED STATES DlSTRlCT COURT §§ l;p| girl w mp
WESTERN DlSTRlCT OF TENNESSEE l "“"‘"` '“"~ r ""
EASTERN DlVlSION

UN|TED STATES OF AMER|CA

.v. 03-10012~1-T

 

DARR¥L SCOTT SUSEW|TT
M. Dianne Smothers
Assistant Federal Defender
109 S. Highland Avenue, Room B-8
Jackson, TN 38301

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Cou nt 3 of the indictment on August 08, 2003. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section M_.¢»‘Lenss Concluded Number(s1
26 USC § 5822, 5861(0) Possession of a Short-Barre|ed 11/02/2002 3

and 5871 Shotgun

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) ‘l, 2, 4, 5 and 6 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/26/1959 June 30, 2005
Deft’s U.S. lVlarsha| No.: 1763‘1-018

Defendant’s Nlai|ing Address:
40 LlCK CREEK ROAD
B|G SANDY, TN 38221

O§wwD-M

JA|V| D. TODD
CH| UN|TED STATES DlSTRlCT JUDGE

June 3 0 , 2005

 

Thls document entered on the docket sheet in ml llance
with nule 55 and/or 32(1:) rach on MQGZ_§__

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 66 Months, as to Count 3 of the |ndictment.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years, as to Count 3 of the indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 16 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall Work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used.
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Nionetary Penaities sheet of this judgment

ADDiTlONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and/or alcohol abuse as directed by the probation officer until such time as the defendant
is released from the program by the probation officer.

CR|MINAL MONETARY PENALT|ES

The defendant shall paythefo||owing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00

The Speciai Assessment shall be due immediate|y.

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FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 1:03-CR-100]2 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

J ames W. Povveil

U.S. ATTORNEY'S OFFICE
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Ste. 300

Jaci<son7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highiand Ave.

Ste. B-S

Jaci<son7 TN 38301

Honorabie J ames Todd
US DlSTRlCT COURT

